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                            UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NORTH DAKOTA


 Sophia Wilansky,

                               Plaintiff,               MOTION TO DISMISS SECOND
                                                          AMENDED COMPLAINT
        vs.

 Morton County, North Dakota;                                 Case No. 1:18-cv-00236
 Kyle Kirchmeier, in his official capacity;
 Adam J. Dvorak in his personal capacity;
 Jonathan R. Moll in his personal capacity,

                               Defendants.


       State Defendant Adam Dvorak of the North Dakota Highway Patrol moves this Court under

Fed. R. Civ. P. 12(b)(6) for an order dismissing Plaintiff’s claims against him as set forth in

Plaintiff’s Second Amended Complaint. This motion is made to assist the Court in securing “the

just, speedy, and inexpensive determination” of this action. Fed. R. Civ. P. 1. This motion is

supported by the attached memorandum and all documents on file with this Court, and is made on

the grounds that the Complaint fails to state claims against the State Defendant and is barred by

qualified immunity, as more fully set forth in the attached memorandum. Defendant Dvorak

respectfully asks that this Court grant his motion and dismiss all claims against him.

       Dated this 18th day of August, 2023.
                                              State of North Dakota
                                              Drew H. Wrigley
                                              Attorney General


                                              By:     /s/ Jane G. Sportiello
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